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Teny Geragos

From:                             Teny Geragos
Sent:                             Monday, June 30, 2025 6:29 PM
To:                               Smyser, Madison (USANYS); SubramanianNYSDChambers
Cc:                               Johnson, Emily (USANYS) 2; Steiner, Mitzi (USANYS); Foster, Meredith (USANYS); Comey,
                                  Maurene (USANYS); Slavik, Christy (USANYS); Marc Agnifilo; Alexandra Shapiro; Jason A.
                                  Driscoll; Anna Estevao; xdonaldson; thesteellawfirm; nw@westmorelandlawgroup.com
Subject:                          RE: 24 Cr. 542 US v Combs - Jury Question


Dear Judge Subramanian and Chambers:

Defense proposed response to note: As I’ve said, you are the judges of the facts. You are to read the charge as a whole,
which is Sec on 8, beginning on page 36, line 17 to page 39, line 5.

Our posi on:
The Court cannot answer the ques on either aﬃrma vely or nega vely, because that would usurp the role of the jury
by telling them how to apply the law to the facts.

Moreover, the jury note does not contain suﬃcient facts to answer the jury’s ques on one way or the other. First, it is
unclear from the note whether the jury is considering whether the person who is handing over the drugs has the
requisite knowledge about what the substance they are handing over is or not. Therefore, the answer to the ques on
requires reference to aspects of the charge on page 36, speciﬁcally the deﬁni on that the distribu on must be
knowingly and inten onally. Second, the answer to the ques on also relates to the charge on page 38, which talks
about the dis nc on between personal use and distribu on, which might inform the jury’s answer depending on the
factual circumstances it is contempla ng. Finally, other instruc ons on page 37 beyond lines 1-3 are also relevant, such
as the joint and construc ve possession instruc ons, as the jury’s ques on doesn’t make clear who the jury is asking
about or the speciﬁc factual circumstances.

For these reasons, providing the language from Wallace is inappropriate.

Respec ully,
Teny

From: Smyser, Madison (USANYS) <Madison.Smyser@usdoj.gov>
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Subject: 24 Cr. 542 US v Combs - Jury Question

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Dear Judge Subramanian and Chambers:

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Despite attempts to confer, the parties have been unable to reach an agreement. The Government’s
proposal is below. We expect the defense will respond shortly.

The Government proposes that the Court answer the jury’s question with: “Yes,” and refer the jury to
lines 1 through 3 of the instructions on page 37 (“The word ‘distribution’ means actual, constructive, or
attempted transfer. To distribute simply means to deliver, to pass over, or to hand over something to
another person, or to cause it to be delivered, passed on, or handed over to another. Distribution does
not require a sale.”).

If the Court is inclined to simply point the jury to the instructions, the Government respectfully requests
that the Court add the following supplemental instruction, which was approved of by the Second Circuit
in United States v. Wallace, 532 F.3d 126, 129 (2d Cir. 2008): “Sharing drugs with another constitutes
distribution.”

The Government opposes any instruction that refers to any portion of the charge other than the deﬁnition
of “distribution.” It is clear on its face that the jury’s question relates only to distribution, and any
reference to the possession with intent instruction or conspiracy instruction would be misleading and
confusing.

Respectfully,

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